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                  EXHIBIT E
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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MAINE

ROBERT HAGOPIAN,
16 Hagopian Ct.
Madison, ME 04950

DUANE R. LANDER,
P.O. Box 1113
Greenville, ME 04441                                        Case No. ____________

STERLING B. ROBINSON, and
1330 Atlantic Highway
Warren, ME 04864

JAMES T. TRUDEL,
616 Fuller Rd.
Hermon, ME 04401

                             Plaintiffs,

      v.

MATTHEW DUNLAP, in his official capacity as
Secretary of State of Maine,
148 State House Station
Augusta, Maine 04333-0148

AARON FREY, in his official capacity as
Attorney General of Maine,
6 State House Station
Augusta, ME 04333

JANET MILLS, in her official capacity as
Governor of Maine,
#1 State House Station
Augusta, ME 04333

                             Defendants.

      DECLARATION OF JAMES T. TRUDEL IN SUPPORT OF PLAINTIFFS’
        COMPLAINT AND MOTION FOR A PRELIMINARY INJUNCTION

      I, James T. Trudel, hereby declare as follows under the penalty of perjury.




                                               1
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        1.     The following statements are based on my personal knowledge, and if called to

testify I could swear competently thereto.

        2.     I am 73 years old and of sound mind.

        3.     I am a citizen of the United States and of the State of Maine.

        4.     I reside at 616 Fuller Rd, Hermon, ME 04401 in Penobscot County.

        5.     I am a retired Lieutenant Colonel of the Maine Air National Guard and former

electrical engineer.

        6.     I received a Bachelor of Science in Electrical Engineering Technology from the

University of Maine in Orono in 1984.

        7.     I am an eligible Maine voter and am duly registered as an Independent to vote in

Maine’s federal elections.

        8.     I voted in the 2018 election for Maine’s Second Congressional Election (“2018

Congressional Election”).

        9.     In the 2018 Congressional Election, I cast my ballot for Bruce Poliquin in the first

round, followed by each of the other candidates in the subsequent rounds. I ranked Jared Golden

last.

        10.    I completed my ballot in this manner to ensure that my vote was counted and to put

additional candidates between my first choice, Bruce Poliquin, and my last choice, Jared Golden.

        11.    Bruce Poliquin was the only candidate I truly supported.

        12.    I did not wish to express support for the other candidates because they stood for

principles that violated my political convictions.

        13.    However, I understood that if Bruce Poliquin was eliminated, my ballot would be

discarded if I did not vote in additional rounds.



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       14.     Accordingly, I voted for candidates other than Bruce Poliquin to ensure that my

ballot was counted and to prevent Jared Golden from being elected.

       15.     Were it not for ranked-choice voting, I would not have supported candidates other

than Bruce Poliquin.

       16.     I plan to vote in Maine’s 2020 Senate election (“2020 Senatorial Election”).

       17.     In the 2020 Senatorial Election, I once again want to ensure that my vote will be

counted.

       18.     I therefore plan to rank Susan Collins first, followed by the independent candidates,

followed last by Sara Gideon.

       19.     I do not support Sara Gideon or the independent candidates. However, I will rank

them on my ballot to ensure that it is counted.

       20.     As a result, I will have to once again violate my political convictions in order to

ensure that my vote is counted.

       21.     I declare under penalty of perjury that the foregoing is true and correct.



                                      /s/ James T. Trudel
                                      James T. Trudel


                                      July 21, 2020
                                      Date




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